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CIVlL COVER SHEET
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l. (.'l) PLAlNTlFFS DEFENDANTS

U.S. Immigration and Customs Enforcement;

U.S. Department of Homeland Security;

Iohn F. Kelly, Secretary of Homeland Security, in his official capacity;
Thomas D. Homan, Acting Director ICE, in his official capacity;
Daniel A. Bible, Field Off`ice Director ICE, in his official capacity.

Dilley Pro Bono Project; Caroline Perris; and Shalyn Fluharty.

 

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m ATTORNF.vs msz NAMF,. ADDRESS, AND TF.LEPHONF. NUMBF.R; A'l“mRN+;\/s uF KNowN;
AMANDA DAVIDOFF

SULLlVAN AND CROMWELL LLP
1700 New York Avenue, N.W., Suite 700
Washington, D.C. 20006

(202) 956-7500

 

 

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lV. CASE ASSIGNMENT AND NATURE OF SUIT

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